                                      Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 1 of 15
2181CV01178 Trainor, Gordon vs. Michaels Stores, Inc.

Case Type:
Torts
Case Status:
Open
File Date
05/26/2021
DCM Track:
F - Fast Track
Initiating Action:
Personal Injury - Slip & Fall
Status Date:
05/26/2021
Case Judge:

Next Event:




 All Information   Party    Tickler   Docket     Disposition


   Party Information
   Trainor, Gordon
   - Plaintiff
    Alias                                                          Party Attorney
                                                                   Attorney
                                                                   Moynihan, Jr., Esq., Daniel J
                                                                   Bar Code
                                                                   546346
                                                                   Address
                                                                   Law Office of Daniel J Moynihan
                                                                   271 Main St
                                                                   Suite 302
                                                                   Stoneham, MA 02180
                                                                   Phone Number
                                                                   (781)438-8800
                                                                   Attorney
                                                                   Russell, Esq., Mark A
                                                                   Bar Code
                                                                   568943
                                                                   Address
                                                                   The Law Office of Daniel J. Moynihan, P.C.
                                                                   271 Main St Suite 302
                                                                   Stoneham, MA 02180
                                                                   Phone Number
                                                                   (781)438-8800
                                                                                                                                                               More Party Information

   Michaels Stores, Inc.
   - Defendant
    Alias                                                          Party Attorney
                                                                   Attorney
                                                                   Dickman, Esq., Michael P
                                                                   Bar Code
                                                                   703367
                                                                   Address
                                                                   Melick and Porter, LLP
                                                                   One Liberty Square
                                                                   Boston, MA 02109
                                                                   Phone Number
                                                                   (617)502-9704
                                                                                                                                                               More Party Information




   Ticklers
   Tickler                                                                              Start Date              Due Date     Days Due       Completed Date
   Service                                                                              05/26/2021              08/24/2021   90
   Answer                                                                               05/26/2021              09/23/2021   120
   Rule 12/19/20 Served By                                                              05/26/2021              09/23/2021   120
   Rule 12/19/20 Filed By                                                               05/26/2021              10/25/2021   152
   Rule 12/19/20 Heard By                                                               05/26/2021              11/22/2021   180
   Rule 15 Served By                                                                    05/26/2021              09/23/2021   120
   Rule 15 Filed By                                                                     05/26/2021              10/25/2021   152
   Rule 15 Heard By                                                                     05/26/2021              11/22/2021   180
   Discovery                                                                            05/26/2021              03/22/2022   300
   Rule 56 Served By                                                                    05/26/2021              04/21/2022   330
   Rule 56 Filed By                                                                     05/26/2021              05/23/2022   362
   Final Pre-Trial Conference                                                           05/26/2021              09/19/2022   481
   Judgment                                                                             05/26/2021              05/26/2023   730




   Docket Information
   Docket Date                   Docket Text                                                                                            File Ref Nbr.        Image Avail.
   05/26/2021                    Attorney appearance
                                 On this date Daniel J Moynihan, Jr., Esq. added for Plaintiff Gordon Trainor
   05/26/2021                    Attorney appearance
                                 On this date Mark A Russell, Esq. added for Plaintiff Gordon Trainor
   05/26/2021                    Case assigned to:                                                                                                               Image
                                 DCM Track F - Fast Track was added on 05/26/2021
   05/26/2021                    Original civil complaint filed.                                                                        1                        Image

   05/26/2021                    Civil action cover sheet filed.                                                                        2                        Image

   05/26/2021                    Demand for jury trial entered.
   08/05/2021                    Service Returned for                                                                                   3                        Image
                                 Defendant Michaels Stores, Inc.: Service through person in charge / agent;

                                 Bernardo Marines, on 7/27/21, at 84 State Street, Boston, MA 02109
   08/16/2021                    Attorney appearance electronically filed.                                                                                       Image

   08/16/2021                    Answer to original complaint                                                                           4                        Image
                      Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 2 of 15
Docket Date        Docket Text                                                                                   File Ref Nbr.   Image Avail.
08/16/2021         Attorney appearance                                                                                               Image
                   On this date Michael P Dickman, Esq. added for Defendant Michaels Stores, Inc.




Case Disposition
Disposition                                                                           Date          Case Judge
Pending
                        Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 3 of 15




                                                  Commonwealth of Massachu.setts ·
                                                                            ./
           . MIDDLESEX,SS.                                                           .TRIAL COURT OF THE COMMONWEALTH
                                                                                      SUPERIOR COURT DEPARTMENT
                                                                                      CIVIL DOCKET NO. · d. / -·                   JI z'ef




              ·     ·                         ·     "'                  .        SUMMONS
                                        &i~1A.tt.:tt J!.i (/CC,1' {;,a
                                                       1
                                   •                       .                                             f-t    L~-t,lt:\ EL'S "810 R /;'                        -:£._ N C . ·
            THIS SUMMONS IS DIRECTED TO, ·BJ/J~.~f'fr4L-f-                                                   . (Defendant',~ name)·
                                                   .           .1   ~as -,b,,.       rm .                .                          ·.           .
            You are being sued. The Plaintiff(s) riamed above has started a lawsuit again•st you. A.copy of the                                                  .
            Plaintiff's C!plaint file'd again~t you is attached t~ this.summon~ and the original complainfhas been                                       . .
           .filed in'the_ [!J.,i   clJtuut f'vp Cf Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.
                   . . . l,i.; ~I¼"- . bWt-,f L ,-).,                            .   .   .                               ..

1.          You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide                                                  ,
            the case against you and award the Plaintiff everything asked for in the complaint. You Wiil also lose the
            dpportunity to tell your side of t~e story. You must respond to this •lawsl.)it in writing even if·you expect
            to resolve this matter with the Plaintiff. If you need more time to respond, you may request an .
            extension of time in writing from the Court.
2.          How to Respond. To respond to this lawsuit, you must file a written response with the court and mail a
                                                                                                           f1Anu ~.:.. . · .·
          · .copy to the Plaintiff's Attorney (or the Plaintiff, if u~representeci)'. You.can do thJii b~fL.•                        .
     a. -Filing your .signed original response with th~ Clerk's Office for Civil Business( .B::_l~fLft-t-, . . rcou_rt, · ~ Tra.tk ~"ti:
     MP->'->,l' {Or 0U'.bl(address}, by mail or in person'. AND         •        ·
                                                                                                     1
                                                                                                             •   •   •        ••                             •               •   ••



     b.     Delivering ·or mailing a copy of your response to the Plaintiff's Attorney/Plaintiff at the following·                                   .   .
            address:{~(/           Off,C:,   nr f>111ciJ[&y,v!.e- /"c I. df"I /-LtLet-Jl:.'Ju,J.e JtU~ &'--t-l"P~{71,1- if)/cf
3.          What to include in y.our response. An "Answer" is one type of response to a Complaint. Your Ans~er                                                           .            .
            must state whethe·r you agree or disa_gree with the fact(s) alleged in each paragraph o_f the Complaint.
            Some defenses, called affirmativ~ defenses, must be stated in your Answer or you may lose your right to
             use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
           . based on the same :~acts or transaction described in the Complaint; then you must include those claims.
            in your Answer. Othe~ise, you may lose y~ur right to sue the Pla.intiff about anything rel~ted to this
           ·1awsuit. If you want to ·have your case heard by a jury,· you must specifically request a jury trial in your
            Answer o~· in a written demand for a jury trial that you must send to the either side and file with the
            court np more than ·10 days after.s~nding your Answer. You can also respond to a Co.mplai~t by fifing a
            "Motion to Dismiss," if. you believe that the complaint is legally invalid or legally insufficient:                          A Motion
            to Dismiss· must'be based on .one of the legal deficiencies or reasons listed under Mass.· R. Civ. P. 12. If
            you are filing a Mo.tion to Dismiss, you must ali;;o comply with the filing procedures for "Ci_vil ·Motions"
           ·described in the rules of the Court in which the complaint was filed, available at
            www.mass.gov.courts/case-legal-res/rules of court.



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                                                                                             •   I
            Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 4 of 15




4.   Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
     inforr~ation for people who ~epresent themselves is available at www.mass.gov/courts/selfhelp.
5.   Required information on all filings: The "civil docket .number'.' app~aring at the top of this notice is the
     case number assigned to this case and must appear on the front of your Answer or Motion to Di!:imiss.
     You should refer to yourself as the "Defendant."

     Witness Hon. Judith Fabricant, Chief Justice on                    ol/cr::;, ' 2oci!1
                                                                               ~      -

                                                                           I
                                                                           \




     Note: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be indicated on the
     summons before it is served on the Defendant.




                                           PROOF OF SERVICE OF PROCESS

               I hereby certify that on _ _ _ _ _ _ _ _ _ _ , 20_ , I served a copy of this s_ummons,
     together with a copy ofthecomplaint in this action, on the defendant named in this summons, in the
     following manner (See Mass. R. Civ. P. 4(d)(1-5)):




     Dated: _ _ _ _ _ _ _ _ _ , 20 __                                 Signature: _ _ _ _ _ _ _ _ _ _ _ __



                                                                                                            ' 'I
     N.B.     TO PROCESS SERVER:


              PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH
     ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT•




                                                                                                      .   · ~



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      Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 5 of 15



                      COivIMONWEALTH OF MASSACHUSETTS
                               -                  I    l:
MIDDLESEX,ss                                                           SUPERIOR COURT DEPT.
                                                                       C.A.#: )_. \ - 1I 1~
                                                      Y'
GORDON TRAINOR,                                       );   ,

        · PLAINTIFF                                   ).
                                                      )': ,
v.                                                    }
                                                      }:                     ·   FILED
MICHAELS STORES, INC.,                                )                   CIN THE OFFICE OF THE
                                                                           LEAK OF COURTS
                                                                       FOR THE COUNTY OF MIDDLESEX
                 DEFENDANTS                           )
                                                      ) .:
                                                                            MAY 2 6 2021

                                       COMPLAINT ;:                /
                                                                        ~~        ..JYQ;(~
                                                                        ......W:: L AK


                                         PARTIES

     1. The Plaintiff, Gordon Trainor, is an individual:with a residence of 54 Mill Street,
        Apt. 7, Woburn, Middlesex County, Massachusetts.
     2. The Defendant, Michaels Stores, Inc. is, upon ~formation and belief, a duly
        organized Foreign Corporation in the Comm.ol}wealth of Massachusetts with a
        principal place of business at 3939 W John Caw,enter Frwy, Irving, TX with a
        registered Agent identified as Corp!)ration Seryice Company, 84 State Street,
        Boston, MA.        ·                           ••·    ·

     3. The Defendant, Michaels Stores, Inc., is engag~d in business at Michaels of
        Stoneham, Redstone Shopping Center, 119 Main Street. Ste 1, Stoneham, MA
        02180.                                                 '

                                   JURISDICTION/ VENUE

     4. Jurisdiction is appropriate pursuant to the appHc;:able Massachusetts Statutes
        regarding subject matter and junsdictional limits on damages.

     S. Venue is appropriate as the Plaintiff resides in fy+iddlesex County.

                                    FACTUAL ALLEG,ATIONS

     6. Plaintiffs incorporate by reference paragraphs ;t-5 of this Complaint herein.



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  Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 6 of 15


                                                  I

?. Now comes the Plaintiff, in the above-entitleq ;matter and says that on or about
   June 29, 2019, in the late afternoon, he entered the Defendant's business
   identified as Michaels of Stoneham: located at' ~ 19 Main Street, Ste. 1, in
   Stoneham, Massachusetts, as a customer to pfok up a pictw-e he had framed at
   Defendant's business.                          ;

8. On said date, the general area of the business was experiencing a rain storm,
   ·which had the effect of water accumulating inside the store on the tile adjacent to
    the entry way.

9. The Plaintiff entered the entry way of Michaels through the first set of doors and
                                                      I
   proceeded to walk with due care and caution adross a wet carpet and walked
   through the second set of entry doors and upon: entering the Defendant's shopping
   area, the Plaintiff stepped off the carpet and onto the tile floor which was wet and
   slippery.                                        '

10. The Defendant made no effort to provide a warning to customers nor did they
    attempt to keep the floor dry and, as a r~sult, the Plaintiffs feet slipped from
    underneath him and he fell with the full force ,of his body weight onto his right
    side causing serious injuries to his person.

                                 COUNT l- NEGLIGENCE

11. Plaintiff incorporates by reference para~aphs.1 - 10 of this Complaint herein.

12. At all relevant times, the Defendant Owners and their agents negligently
    permitted their floor to become wet and slippery, failed to keep the area dry,
    provide a warning to customers of the apparertt danger and assumed responsibility
    for the wet and slippery conditions of their floor while sacrificing a safe pathway
    for customers, including the Plaintiff.         ·

13. On or about June 29, 2019, the Defendl;int Owners and their agents negligently
    caused or allowed a dangerous condition, spedfically when the tile entry way to
    their arts and crafts store became wet and slippery it was a dangerous hazard to
    any customer.

14. As a direct and proximate result of the negligence of Defendant Owners and their
    agents, on June 29, 2019 the Plaintiff was caused to slip on the.hazardous and
    neglected tile entry way of the Michaels store in Stoneham and he sustained
    severe personal injuries, pain and suffering, artd medical expenses;

  COUNT II - Vfolation of the Massachusetts Building Code by all Defendants

15. Plaintiff incorporates by reference paragraphs 1 - 14 of this Complaint herein.




                                         2
        \
                       Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 7 of 15
'
    .       . )).
            ,·


                    16. The Defendant Owners failed to maintain theii' building in a safe, operable and
                        sanitary condition and assumed liability when the Defendant Owners and their
                                                                        a
                        agents negligently maintained the premises in safe manner.wherein they allowed
                        a water hazard to accumulate at the front entrance creating a certain risk of
                        slipping by patrons.

                     17; The Defendant Owners caused an uilsafe, hazardous entry way in violation of the
                        ·Massachusetts Building Codes under M.G.L. 143, Section 51.

                    18. As a direct and proximate result of the Defendant Owner_s causing the unsafe,
                        hazardous entry way in violation of said buildi~g codes, the Defendant Owners
                        are ~trictly liable for the severe injuries, pain arid suffering, and medical expenses
                        of the Plaintiff.        "          ·
                                          \   .
                         WHEREFORE, the ~laintiff, Gordon Trainor, demands a judgment against the
                 Defendant, Michaels of Stoneham, together with interest, costs and for whatever other
                 further refiefthis Honorable Court deems fair and just.

                 THE PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL COUNTS OF HI:S
                 COivIPLAINT.                                                                        1

                                                                                                   • I




                                                               Daniel J. Mpyni
                                                               Mark A. Russ,,..-.-~oc--
                                                               Law Office         aniel J. Moynihan, P.C.
                                                               271 Main Street, Suite 302           ·
                                                               Stoneham, MA 02180
                                                               (781) 438-8800
                           .,J_                                moynihanlaw@verizon.net
                 DATED: May 26, 2021




                                                                        ,·

                                                                                      ,,

    )

                                                              3
                      Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 8 of 15
                                         DOCKET NUMBER
                                                                 Trial Court of Massachusetts
        CIVIC. ACTION COVER SHEET
                                                                 The Superior Court
PLAINTIFF(S):             Gordon Tralnor                                                                                                            COUNTY
                                                                                                                                                                   Middlesex
ADDRESS:                  54 MIii Street, Apt. 7, Woburn. MA 01801



------------------------
- - - - - - - - - - - - - - ' - - - - - - - - - - - (Agent) Corporallo.n Service Co., 84 Slate SL, Boston, MA02109
                                                                                                                   DEFENDANT(S): I           Michaela Stores, Inc. 3939 W John Carpenter Frwy, Irving, TX 75083



ATTORNEY:                 Daniel J. Moynihan                                                                       (dba local store) ~lchaels of Stoneham, 119 Mein Street, Sulla 1, Stoneham, MA 02180

ADDRESS:
                          ------------------
                          271 Main Street, Suite 302, Stoneham. MA 02180                                           ADDRESS:




BBO:                    . 546346
                                                           TYPE OF ACTION AND TRACK DESIGNATIOt,I (see reverse side)
             ·coDENO.                                TYPE OF ACTION (specify)               T~CK         ·       HAS A JURY CLAIM BEEN MADE?
       B20                                   Personal Injury- Slip & Fall                    _F_                  ~ YES         NO                                                       O
   •1f "Other" please describe:


              •Is there a claim under G.L. c. 93A?
                    YES          18) NO
                                                                                                                                  Is thJs a class action under Mass. R. Clv. P. 23?
                                                                                                                                      ;;Q YES             ~ NO
                                                                       STATEMENT OF DAMAGES PURSUANT TO G.L.                                       c. 212, § 3A
The followlng Is a full, Itemized and detailed statement of the facts on which the undersigned plalntlff or plaintiff's counsel relles to· determine money damages.
For this form, disregard double or treble damage claims; indicate single damages only.         ·
                                                                                                              TORT CLAIMS
                                                                                            (attach addlUoilal sheets as necessary)
A. Documented medical expenses to date:
              1. Total hospital expenses ..........................._......................................              . ...............................................\ ...................... ,...... .   $68,454.03
              2. Total doctor expenses .........................................................................................,.F.~Lel:>• ....................................................... .          $
              3. Total chiropractic expenses ............................................................:........         ~~JW,1/?~9J8{:;TJ:te ............................................. .
              4. Total physical therapy expe~es ........................................................f.OR.l:Ha.c<:>~N'f'r'•OPr.rrCot~~~x"·.................................. .                              $
              5. Total other expenses (descnbe below) ..................... ,................... ,............................................................. ................................. .            $7,014.34
                                                                                                                                                                                        Subtotal (A):          s/5,4os.3,
 ambulance expenses         .       "                                                                                           MAY 2 6 2021
B. Documented lost wages and compensation to date ..................................................................:..................................................................
C. Documented property damages to date .......................................................................................... ~ ....................................................... ..                 $
D. Reasonably anticipated future medical and hospital expenses ............................~~.Q.✓.A,.,..<.... .,,_.... ................................ ..                                                     $
                                                                                                                                        ..        ..
E. Reasonably anticipated lost wages ..................................................................;✓-.-:::~~ ~ ~ J................................. ,... .                                                $
                                                                                                                                                                                                               $ 300,000.00
F. Other documented items of damages (describe below)..................................... ..                         .          K........................................................
pain and suffering
G. Briefly describe plalntlffs Injury, Including the nature and extent of Injury:
 multiple fractured ribs and a collapsed lung
                                                                                                                                                                                        . TOTAL (A·F):$375,468.37


                                                                                                    CONTRACT CLAIMS
        ·                                                     (attach additional ~heels as necessary)
  n  This action Includes a clalm involving collectlon of a debt Incurred pursuant to a revolving credit agreement.,Mass. R. Clv, P. 6.1 (a).
Provlde a detailed descr1ptlon of clalm(s):.      .                                             '. !                                                                                                               '1
                                                                                                .                                      TOTAL:$
                                                                                                                                                                                                               ----
Signature of Attorney/ Unrepresented Plain
RELATED ACTIONS: Please provide the case




 Signature of Attorney of Record: X
        Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 9 of 15
                                     4


                        COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX, ss                                                             SUPERIOR COURT



GORDON TRAINOR,
                                            )
                                            )
                                                                 8/16/2021
                                            )
       Plaintiff,                           )
                                            )                                     RECEIVED
vs.                                         )      C.A. No. 2131CV01178
                                            )
MICHAELS STORES, INC.,                      )
                                            )
       Defendants.                          )
_______________                             )


        DEFENDANT MICHAELS STORES, INC.'S ANSWER TO COMPLAINT

      Pursuant to Rules 8 and 12 of the Massachusetts Rules of Civil Procedure, Defendant
Michaels Stores, Inc. ("Defendant"), by and through the undersigned counsel, hereby submits its
Answer to Complaint in the above-captioned action.

                                          PARTIES

       1. Defendant is without knowledge or information sufficient to form a belief as to
          the truth of the allegations of this paragraph and therefore calls upon Plaintiff to
          prove the same.

       2. Admitted.

       3. Admitted.

                                 JURISDICTION / VENUE

       4. This paragraph calls for conclusion of law and therefore no response is required.

       5. This paragraph calls for conclusion oflaw and therefore no response is required.




  AJ
Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 10 of 15




                         FACTUAL ALLEGATIONS

6. Defendant incorporates by reference its Answer to paragraphs 1 through 5 as if
   fully set forth herein.

7. Defendant is without knowledge or information sufficient to form a belief as to
   the truth of the allegations of this paragraph and therefore calls upon Plaintiff to
   prove the same.

8. Defendant is without knowledge or information sufficient to form a belief as to
   the truth of the allegations of this paragraph and therefore calls upon Plaintiff to
   prove the same.

9. Defendant is without knowledge or information sufficient to form a belief as to
   the truth of the allegations of this paragraph and therefore calls upon Plaintiff to
   prove the same.

10. Denied.

                                   COUNT!
                                   Negligence

11 . Defendant incorporates by reference its Answer to paragraphs 1 through 10 as if
     fully set forth herein.

12. Denied.

13. Denied.

14. Denied.


                                COUNT II
       Violation of the Massachusetts Building Code by all Defendants

15. Defendant incorporates by reference its Answer to paragraphs 1 through 14 as if
    fully set forth herein.

16. Denied.

17. To the extent this paragraph calls for a conclusion oflaw, no response is required.
    To the extent a response is required, denied.

18. To the extent this paragraph calls for a conclusion oflaw, no response is required.
    To the extent a response is required, denied.



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       Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 11 of 15




       WHEREFORE, Defendant requests that the Court enter judgment in its
favor and against Plaintiff, as well as fees, costs, and such further relief as the
Court deems just and proper.

                                  AFFIRMATIVE DEFENSES


                               FIRST AFFIRMATIVE DEFENSE

       Defendant states that the Plaintiff has failed to state a claim upon which relief may be
granted.

                             SECOND AFFIRMATIVE DEFENSE

        Defendant states that Plaintiff's claims are barred in whole or in part because Plaintiff's
injuries arose out of or were the result of the negligent acts or omissions of another party for which
the Defendant has no responsibility or control.

                              THIRD AFFIRMATIVE DEFENSE

      Defendant states that Plaintiff's claims are barred in whole or in part and/or the Plaintiff's
damages should be reduced because of Plaintiff's own negligence. Accordingly, the doctrines of
comparative and/or contributory negligence preclude or limit Plaintiff's claims and/or recovery of
damages.

                             FOURTH AFFIRMATIVE DEFENSE

        Defendant states that Plaintiff's claims are barred in whole or in part because of untimely
notice to the Defendant.

                              FIFTH AFFIRMATIVE DEFENSE

       Defendant states that Plaintiff's claims are barred in whole or in part due to waiver and
estoppel.

                              SIXTH AFFIRMATIVE DEFENSE

       Defendant states that Plaintiff's claims are barred in whole or in part because the condition
alleged in the complaint was open and obvious, de minimis, and/or transitory.




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      Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 12 of 15




                                      JURY DEMAND

      The Defendant claims a jury on all claims, defenses and issues so triable.




                                           DEFENDANTS
                                           MICHAELS STORES, INC.
                                           By its attorney,


                                           ls/Michael P. Dickman
                                           Michael J. Mazurczak, BBO #555106
                                           Michael P Dickman, BBO #703367
                                           Melick & Porter, LLP
                                           One Liberty Square, 7th Floor
                                           Boston, Massachusetts 02109
                                           Telephone: (617) 523-6200
                                           Facsimile: (617) 523-8130
                                           maz@melicklaw.com
                                           mdickman@melicklaw.com


Dated: August 16, 2021




                                               4
            Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 13 of 15




                              COMMONWEALTH OF MASSACHUSETTS

     MIDDLESEX, ss                                                            SUPERIOR COURT


                                                    )
     GORDON TRAINOR,                                )

            Plaintiff,
                                                    )
                                                    )
                                                                                        8/16/2021
                                                    )
     vs.                                            )     C.A. No. 2131CV01178
                                                    )
     MICHAELS STORES, INC.,                         )
                                                    )
            Defendants.                             )
                                                    )


                         NOTICE OF APPEARANCE OF MICHAEL P. DICKMAN

     TO THE CLERK OF THE ABOVE-NAMED COURT:
            Please enter the appearance of Michael P. Dickman, on behalf of defendants, Michaels

     Stores, Inc., in the above-captioned matter.



                                                    DEFENDANTS
                                                    MICHAELS STORES, INC.
                                                    By its attorney,


                                                    /s/Michael P. Dickman
                                                    Michael J. Mazurczak, BBO #555106
                                                    Michael P Dickman, BBO #703367
                                                    Melick & Porter, LLP
                                                    One Liberty Square, 7th Floor
                                                    Boston, Massachusetts 02109
                                                    Telephone: (617) 523-6200
                                                    Facsimile: (617) 523-8130
                                                    maz@melicklaw.com
                                                    mdickman@melicklaw.com


     Dated: August 16, 2021




AJ
       Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 14 of 15




                                CERTIFICATE OF SERVICE


       I, Michael P. Dickman, hereby certify that I have, on this day, served a true and accurate
copy of the foregoing document via www.efileMA.com, upon the following counsel of record:


       Daniel J. Moynihan, Jr., Esq.
       Mark A. Russell, Esq.
       Law Office of Daniel J. Moynihan, P.C.
       271 Main Street, Suite 302
       Stoneham, MA 02180


                                                     /s/Michael P. Dickman
Date: August 16, 2021                                Michael P. Dickman




                                                2
       Case 1:21-cv-11404-GAO Document 1-1 Filed 08/26/21 Page 15 of 15




                                CERTIFICATE OF SERVICE


       I, Michael P. Dickman, hereby certify that I have, on this day, served a true and accurate
copy of the foregoing document via www.efileMA.com, upon the following counsel of record:


       Daniel J. Moynihan, Jr., Esq.
       Mark A. Russell, Esq.
       Law Office of Daniel J. Moynihan, P.C.
       271 Main Street, Suite 302
       Stoneham, MA 02180


                                                    ls/Michael P. Dickman
Date: August 16, 2021                               Michael P. Dickman




                                                5
